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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :      CRIMINAL NO. 21-cr-670
               v.                              :
                                               :
STEPHEN K. BANNON,                             :
                                               :
                       Defendant.              :

                      UNITED STATES’ SURREPLY IN OPPOSITION
                       TO DEFENDANT’S MOTION TO CONTINUE

       Likely recognizing the lack of merit to his pretrial publicity claims, the Defendant for the

first time in his reply advances a new reason for a continuance: because there are motions

outstanding in this case. ECF No. 95 at 4-6. The Government files this brief surreply to address

those new claims.

       The Defendant’s latest claimed concern is just another dilatory pretext. The Defendant

requested the very motions schedule to which the Court is adhering, see ECF No. 22-1 (Proposed

Order); the House witnesses’ motion to quash is ripe for resolution (the opening motion was filed

11 days after being served subpoenas for the first time on June 2, 2022, and the intervening period

apparently included the House’s efforts to reach an agreement with the Defendant, Case No. 22-

mc-60, ECF No. 1 at 13); and the Defendant’s motion to compel is not fully briefed only by the

Defendant’s own choice—he has now had a week to reply to the Government’s opposition. All of

these issues can be resolved in advance of trial. Defense counsel have often cited their experience,

so they are likely aware that pretrial issues are often resolved shortly before trial; indeed, parties

sometimes file motions during trial should a witness’s testimony or proffered evidence or argument

raise additional issues. The Defendant’s gamesmanship by requesting a continuance because of

the very schedule he has suggested and manufactured should be rejected.
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                            Respectfully submitted,

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